21-10699-dsj        Doc 350       Filed 02/24/22 Entered 02/24/22 14:59:09                    Main Document
                                               Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
                    In the Matter                              :      Chapter 7
                                                               :      Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
KOSSOFF PLLC,                                                  :
                                                               :
                                                               :
                                            Debtor.            :
                                                               :
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                ORDER CONCERNING CHAPTER 7 INTERIM TRUSTEE’S
                RULE 2004 SUBPOENA TO JPMORGAN CHASE BANK, N.A.

        This Order (the “Order”) is entered following the status conference held on February 4,

2022 (the “Status Conference”) with respect to this Court’s Order Authorizing Trustee to Issue

Subpoenas and Obtain Testimony and for Injunctive Relief [Docket No. 27] and the Subpoena

for Rule 2004 Examination served upon JPMorgan Chase Bank, N.A. (the “Subpoena”) 1 and the

parties’ recent filings regarding the Subpoena [Docket Nos. 329, 340, 341]; and based upon the

record of the Status Conference, it is

        ORDERED, that JPMorgan Chase Bank, N.A. (“JPMC”) shall produce external email

communications which are responsive to the Subpoena (the “External Emails”), in accordance

with the Court’s directives during the Status Conference; and it is further

        ORDERED, that JPMC and the Trustee shall confer in good faith regarding mutually

acceptable search protocols for the External Emails; and it is further




1
    Capitalized terms used but not defined herein shall have the meanings ascribed in the Subpoena.
21-10699-dsj      Doc 350     Filed 02/24/22 Entered 02/24/22 14:59:09          Main Document
                                           Pg 2 of 2



         ORDERED, that JPMC and the Trustee shall also confer in good faith concerning the

production of JPMC’s internal communications, in accordance with the Court’s directives during

the Status Conference; and it is further

         ORDERED, that JPMC and the Trustee reserve all of their respective rights regarding

any additional disputes concerning the Subpoena to the extent such disputes were not resolved by

the Court during the Status Conference; and it is further

         ORDERED, that entry of this Order is without prejudice to the Trustee’s right to submit

further requests to JPMC for other aspects of JPMC’s compliance with the Subpoena, and

without prejudice to JPMC's right to object or otherwise be heard regarding such requests by the

Trustee; and it is further

         ORDERED, that entry of this Order is without prejudice to rights of the Trustee and

JPMC to seek other or further relief from the Court.



Dated:     New York, New York
           February 24, 2022
                                                 s/ David S. Jones
                                              HONORABLE DAVID S. JONES
                                              UNITED STATES BANKRUPTCY JUDGE




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